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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         MCALLEN DIVISION
CRYSTAL MENDENHALL,
                                 §
     Plaintiff,                  §
                                 §
V.                               §     CIVIL ACTION NO___________
                                 §
UNITED PROPERTY & CASUALTY       §
INSURANCE COMPANY and CAROLYN §
REYNOLDS,                        §

        Defendants.

   DEFENDANT UNITED PROPERTY AND CASUALTY INSURANCE COMPANY’S
                       NOTICE OF REMOVAL

        Defendant United Property and Casualty Insurance Company (“UPC”) files this Notice of

Removal:

                                       I.      Background

        1.     On August 09, 2017, Plaintiff Crystal Mendenhall (“Plaintiff”) filed this lawsuit

in Hidalgo, Texas, against United Property & Casualty Insurance Company.

        2.     Plaintiff served UPC with a copy of the Petition on August 21, 2017.

        3.     UPC files this notice of removal within 30 days of receiving Plaintiff’s initial

pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action. See id.

        4.     As required by Local Rule 81 and 28 U.S.C. § 1446(a), simultaneously with the

filing of this notice of removal, attached hereto as Exhibit “A” is an index of matters being filed.

A copy of the Docket Sheet is attached as Exhibit “B.” A copy of Plaintiff’s Original Petition is

attached as Exhibit “C” and a copy of the Civil Process Request issued to UPC and Carolyn

Reynolds is attached as Exhibit “D.” A copy of the Citation to UPC is attached at Exhibit “E”

and copy of the Citation and Return of Service to Carolyn Reynolds is attached as Exhibit “F.”
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A copy of the Civil Case Information Sheet is attached hereto as Exhibit “G” and a copy of

UPC’s Original Answer to Plaintiff’s Original Petition is attached as Exhibit “H.” The List of

Counsel and Parties to the Case is attached as Exhibit “I.” A copy of this Notice is also being

filed with the state court and served upon the Plaintiff.

         5.    Venue is proper in this Court under 28 U.S.C. § 1441(a) because this district and

division embrace Hidalgo County, Texas, the place where the removed action has been pending.

                                       II.   Basis for Removal

         6.    Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446. This is a civil action between citizens of different states, and the amount in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

A.       The Proper Parties Are Of Diverse Citizenship.

         7.    Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas.

         8.    UPC was at the time this action was commenced, and still is, a foreign (Florida)

property and casualty insurance company authorized to do business in the State of Texas. UPC is

organized under Chapter 982 of the Texas Insurance Code.

         9.    Upon information and belief, Defendant Carolyn Reynolds is, and was at the time

the lawsuit was filed, a resident and citizen of the State of Texas. With respect to the claims

against Reynolds, it is UPC’s position that she has been fraudulently joined in this action.

Therefore, the Texas citizenship of Reynolds should be disregarded for the purposes of

evaluating diversity in this matter.

         10.   When fraudulent joinder is asserted, the Court must “pierce the pleadings” to

determine whether a cause of action grounded in fact exists. Carriere v. Sears, Roebuck & Co.,


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893 F.2d 98, 100 (5th Cir. 1990), cert. denied, 498 U.S. 817 (1990). The failure to specify a

legal and factual basis for a claim against a non-diverse party constitutes a failure to state a claim

and results in fraudulent joinder of that party. Waters v. State Farm Mut. Auto. Ins. Co., 158

F.R.D. 107, 109 (S.D. Tex. 1994).

        11.    Here, Plaintiff asserts generic claims against Reynolds for violations of the Texas

Insurance Code as well as breach of the duty of good faith and fair dealing, and violations of the

Deceptive Trade Practices Act, (Pl’s Orig. Pet., section VIII, Exhibit C). Based on Plaintiff’s

pleading, there is no basis for predicting that Plaintiff might be able to establish liability against

Reynolds separate and independent from her work on behalf of UPC because no real facts

relating to her have been set forth beyond bare assertions related to her on behalf of UPC. See

Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 127 S. Ct. 1955, 1964-65, 167 L.Ed.2d 929, 940

(2007); see also Ashcroft v Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1945, 173 L.Ed.2d 868 (2009).

As such, Plaintiff cannot “establish a cause of action against [Reynolds] in state court.” Travis v.

Irby, 326 F.3d 644, 647 (5th Cir. 2003) (citing Griggs v. State Farm Lloyds, 181 F.3d 694, 698

(5th Cir. 1999)); see also TAJ Properties, LLC v. Zurich American Ins. Co., Civil Action No. H-

10-2512, 2010 WL 4923473 at *2 (S.D. Tex. Nov. 29, 2010) (Werlein, J.). Because there is no

reasonable basis for this Court to predict that the Plaintiff might be able to recover against

Reynolds, for liability separate and apart from any alleged liability against UPC, her presence

should be disregarded in determining diversity jurisdiction.

        12.    Because Plaintiff is a citizen of Texas and Defendant UPC is a citizen of Florida,

complete diversity of citizenship exists among the parties.




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B.      The Amount in Controversy Exceeds $75,000.00.

        13.    This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiff’s Petition specifically alleges that Plaintiff “seeks monetary relief over $100,000.00 but

not more than $200,000.00.” See Exhibit C §5.

                                 III.    Conclusion and Prayer

        14.    Accordingly, all requirements are met for removal under 28 U.S.C. §§ 1332 and

1441. UPC hereby removes this case to this Court for trial and determination.

                                              Respectfully submitted,

                                              /s/ Rhonda J. Thompson
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                                              UNITED PROPERTY & CASUALTY
                                              INSURANCE COMPANY




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                               CERTIFICATE OF SERVICE

       This is to certify that on the 20th day of September, 2017, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

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                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson




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